
Filed 8/6/14 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2014 ND 167







In the Interest of C.S.K., a Child



State of North Dakota, 		Petitioner and Appellee



v.



C.S.K., a child, 

D.M.K., mother, 

and C.O.A., father, 		Respondents



C.O.A., father, 		Appellant







No. 20140205







Appeal from the Juvenile Court of Grand Forks County, Northeast Central Judicial District, the Honorable Debbie Gordon Kleven, Judge.



AFFIRMED.



Per Curiam.



Jacqueline Ann Gaddie (appeared), Assistant State’s Attorney, and Anthony Probasco (argued), third-year law student, under the Rule on Limited Practice of Law by Law Students,124 South 4th Street, P.O. Box 5607, Grand Forks, ND 58206-5607, for petitioner and appellee.



Jessica Johanna Ahrendt, Grand Forks Public Defender Office, 405 Bruce Avenue, Suite 101, Grand Forks, ND 58201, for respondent and appellant, C.O.A.





In the Interest of K.L.A.B., a Child



State of North Dakota, 		Petitioner and Appellee



v.



K.L.A.B., a child, 

D.M.K., mother, 

and D.J.B., Jr., father, 		Respondents



D.M.K., mother, 		Appellant









No. 20140234







Appeal from the Juvenile Court of Grand Forks County, Northeast Central Judicial District, the Honorable Debbie Gordon Kleven, Judge.



AFFIRMED.



Per Curiam.



Jacqueline Ann Gaddie (appeared), Assistant State’s Attorney, and Anthony Probasco (argued), third-year law student, under the Rule on Limited Practice of Law by Law Students,124 South 4th Street, P.O. Box 5607, Grand Forks, ND 58206-5607, for petitioner and appellee.



Rhiannon Lorraine Gorham, P.O. Box 6306, Grand Forks, ND 58206-6306, for respondent and appellant, D.M.K.





In the Interest of C.S.K., a Child



State of North Dakota, 		Petitioner and Appellee



v.



C.S.K., a child, 

D.M.K., mother, 

and C.O.A., father, 		Respondents



D.M.K., mother, 		Appellant









No. 20140235







Appeal from the Juvenile Court of Grand Forks County, Northeast Central Judicial District, the Honorable Debbie Gordon Kleven, Judge.



AFFIRMED.



Per Curiam.



Jacqueline Ann Gaddie (appeared), Assistant State’s Attorney, and Anthony Probasco (argued), third-year law student, under the Rule on Limited Practice of Law by Law Students,124 South 4th Street, P.O. Box 5607, Grand Forks, ND 58206-5607, for petitioner and appellee.



Rhiannon Lorraine Gorham, P.O. Box 6306, Grand Forks, ND 58206-6306, for respondent and appellant, D.M.K.

Interest of C.S.K.

Nos. 20140205, 20140234 &amp; 20140235



Per Curiam.

[¶1]	D.M.K., the mother of C.S.K. and K.L.A.B., appeals from a district court judgment terminating her parental rights. &nbsp;C.O.A., the father of C.S.K., appeals from a district court judgment terminating his parental rights. &nbsp;D.M.K. argues the district court erred by finding the children are deprived, deprivation likely will continue and the children likely will suffer serious physical, mental, moral or emotional harm if placed in D.M.K.’s custody. &nbsp;C.O.A. argues the district court erred by finding deprivation likely will continue and reasonable efforts were made to reunify the family after the children were removed. &nbsp;We summarily affirm under Rule 35.1(a)(2), N.D.R.App.P., concluding the district court was not clearly erroneous in finding the children are deprived, deprivation likely will continue, the children likely will suffer serious physical, mental, moral or emotional harm and reasonable efforts were made to reunite the children with their family.

[¶2]	Daniel J. Crothers

Lisa Fair McEvers

Carol Ronning Kapsner

Dale V. Sandstrom

Gerald W. VandeWalle, C.J.



